Case 4:22-md-03047-YGR   Document 2061-2   Filed 06/17/25   Page 1 of 5




                         EXHIBIT B
       Case 4:22-md-03047-YGR       Document 2061-2         Filed 06/17/25       Page 2 of 5




 1
                     IN THE UNITED STATES DISTRICT COURT
 2                 FOR THE NORTHERN DISTRICT OF CALIFORNIA
 3
     IN RE: SOCIAL MEDIA ADOLESCENT                       MDL No. 3047
 4   ADDICTION/PERSONAL INJURY PRODUCTS
     LIABILITY LITIGATION                                  Case No.: 4:22-md-03047-YGR-PHK
 5
 6                                                        DECLARATION OF JOSHUA A. LEVY IN
     THIS DOCUMENT RELATES TO:                            SUPPORT OF JOINT LETTER BRIEF
 7
 8   ALL MATTERS                                          Judge: Hon. Yvonne Gonzalez Rogers
                                                          Magistrate Judge: Hon. Peter H. Kang
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28



                                                   1
                     DECLARATION OF FRANCES HAUGEN IN SUPPORT OF JOINT LETTER BRIEF
         Case 4:22-md-03047-YGR               Document 2061-2         Filed 06/17/25       Page 3 of 5




 1              I, Joshua A. Levy, declare as follows:
 2              1.     I am over the age of 18 and have personal knowledge of the following facts. I could
 3
     competently testify to these facts if called upon to do so.
 4
                2.     I co-founded, and serve as the Managing Partner of, Levy Firestone Muse LLP. I
 5
 6   have over two decades of experience litigating complex commercial and white collar matters, with

 7   a specialty in representing clients under investigation by the Justice Department, grand juries,
 8
     Congress, government enforcement agencies, inspectors general, and internal corporate inquiries.
 9
                3.     I am counsel for nonparty Frances Haugen, who blew the whistle on Meta in 2021.
10
11              4.     I provide this Declaration to provide additional information concerning the burden

12   in responding to the subpoena for documents served on Ms. Haugen by Meta on March 4, 2025
13
     (the “Subpoena”).
14
                5.     Our law firm provided Ms. Haugen with a preliminary list of 109 search terms to
15
16   run in order to help us determine the burden incumbent upon her responding to Meta’s subpoena.

17   These search terms were based on the requests of the Subpoena and the names and terms contained
18
     therein.
19
                6.     As explained in Ms. Haugen’s declaration, the search terms used to locate
20
21   potentially responsive documents yielded a total of 14,387 documents across her two primary

22   email addresses.
23
                7.     Reviewing these 14,387 documents would take approximately 239 attorney hours
24
     of review solely to determine which documents are responsive to Meta’s requests, at a review rate
25
26   of 60 documents per hour. This estimated rate is based on the documents being emails that will

27   need to be read in full to determine responsiveness.
28



                                                             2
                               DECLARATION OF FRANCES HAUGEN IN SUPPORT OF JOINT LETTER BRIEF
         Case 4:22-md-03047-YGR            Document 2061-2         Filed 06/17/25       Page 4 of 5




 1          8.      Substantial additional time will be required to (1) conduct a second-level review of
 2   the documents for production and (2) conduct a privilege review and compile a privilege log.
 3
            9.      Given that the Subpoena seeks communications with a vast variety of third parties,
 4
     in the event that we determine that communications with any of those third parties are responsive
 5
 6   to the Subpoena, our law firm may be required to contact counsel for those third parties to notify

 7   them of the potential productions, which could take several additional hours.
 8
            10.     Were we to apply our firm’s reduced rates, these hours would be billed at a rate of
 9
     $910/hour for Joshua Levy (a Partner), $835/hour for Rachel Clattenburg (a Partner), $595/hour
10
11   for Christina Lamoureux (an Associate), and $300/hour for Jennifer Luong (an Investigator and

12   Paralegal).
13
            11.     This conservative estimate is based solely on the 14,387 documents identified at
14
     this stage. Our firm may also be required, at Ms. Haugen’s expense, to: (1) identify additional
15
16   search terms that could yield potentially responsive documents, as the 109 search terms were only

17   a representative sample; (2) run searches across additional possible sources of responsive
18
     documents; and (3) review those searches of those searches.
19
            12.     Responding to the Subpoena in full will take far more than the 239 estimated hours.
20
21          13.     The 109 search terms were not all of the search terms that would be needed should

22   the Subpoena not be narrowed; these were terms designed to capture most of the potentially
23
     responsive documents. Some requests, however, are so broad that running searches for those
24
     requests for purposes of determining burden would, itself, be overly burdensome. For instance, as
25
26   just one example, Request 12 in the Subpoena is for “[a]ll Documents and Communications

27   between You and any reporter, journalist, and editor associated with any periodical, blog, podcast,
28
     or other media platform, Including All Communications with Jeff Horwitz of the Wall Street


                                                          3
                            DECLARATION OF FRANCES HAUGEN IN SUPPORT OF JOINT LETTER BRIEF
              Case 4:22-md-03047-YGR              Document 2061-2               Filed 06/17/25           Page 5 of 5
                                                                                                                       1

         Joumal. concerning the use of Social Media Platforms by, safety of, or the sexual exploitation of

     2   persons under the age of 18.'' Ms. 1laugen estimates that she has corresponded with at least 200
 3
         joumalists and n1embers of the news media. Compiling search terms and conducting and reviewing
 4
         searches responsive to this request alone could take even more time than the 239 hours estimated
 5

 6       above, which was for 109 search terms.

 7

 8
         I declare under penalty of perjury under the laws of the United States of America, pursuant to 28
 9
         U.S.C. § 1746, that the foregoing is true and correct to the best of my knowledge.
10

11

12       Executed this 17th day of June, 2025, in Washington, D.C.
13

14                                                              d~   Joshua A. Levy
15

16

17

18

19

20
21

22

23

24

25
26
27

28



                                                                    4
                               l)EC'I.Al<ATION OF FIV\NCl·S I IAIJCiEN IN SIJPl'Oiff OF JOINT I.ETTER BRlff
